          Case: 1:24-cv-00080 Doc #: 1-1 Filed: 01/12/24 1 of 7. PageID #: 4




                                        20?.3 OEC ! ? A 8: ZS




                         LORAIN COUNTY COMMON PLEAS COURT
                                 LORAIN COUNTY, OHIO


FREDDIE J. BUSSEY, JR.
By and through Jonathan E. Rosenbaum
Guardian of the Estate of Freddie J. Bussey, Jr. -         JUDGE
230 Third Street, Suite 101
Elyria, OH 44035

                               Plaintiff

                 V.

THE CITY OF ELYRIA
c/o Law Director Amanda Deery
131 Court Street
Elyria, OH 44035

        and .

JOHN DOES 1-6
Individually and in their official capacities
c/o City of Elyria,
131 Court Street
Elyria, OH 44035

           and

OFFICER BASHSHAR WILEY
85 South Main Street
Oberlin, Ohio 4407 4
Individually and in his official capacity

        and
             Case: 1:24-cv-00080 Doc #: 1-1 Filed: 01/12/24 2 of 7. PageID #: 5




OFFICER JAKOB J. KOLESZAR
85 South Main Street
Oberlin, Ohio 4407 4
Individually and in his official capacity

                               Defendants

       and

THE CITY OF OBERLIN
C/O Law Director Jon Clark
85 South Main Street
Oberlin, Ohio 44074

                                            COMPLAINT

                          (JURY DEMAND ENDORSED HEREON)

                                        INTRODUCTION

1.     This case is brought to address violations of law and resulting damages from the
misconduct of various individuals, entities, officers, and other officials in connection with the
July 1, 2023 arrest and incarceration of Plaintiff, Freddie J. Bussey, Jr.   Mr. Bussey, Jr. is an
upstanding and law-abiding citizen who suffers from a lifelong mental disability and has been a
ward of the Lorain County Probate Court since April, 2004 with no criminal history. Mr. Bussey
was wrongfully restrained, arrested, incarcerated and subjected to an unlawful process despite his
innocence. As a direct result of the actions of the individual Defendants, as well as a direct
result of the unconstitutional customs, policies and/or practices of the Cities of Elyria, and
Oberlin, Mr. Bussey, Jr. suffered a loss of his rights and other damages.


                                            JURISDICTION

2.      This action, is brought pursuant to claims arising under the law of the State of Ohio; 28
U.S.C. §1331, 1343(3) and (4); 42 U.S.C. §1985; 22 U.S.C. §2201; the Fourth, and Fourteenth
Amendments to the United States Constitution; and pursuant to 28 U.S.C. §1923 and 1988.as it
is also an action for Compensatory Damages, Punitive Damages, attorney fees and the cost of
this action. This court has personal jurisdiction over the Defendants, who reside in and/or
conduct business in Lorain County, Ohio.
          Case: 1:24-cv-00080 Doc #: 1-1 Filed: 01/12/24 3 of 7. PageID #: 6




                                            PARTIES
3.      At all times relevant, Plaintiff Freddie J. Bussey, Jr., was a U.S. citizen and a resident of
Lorain County, Ohio.


4.      Defendant City of Elyria is a municipal corporation under Article XVIII of the Ohio
Constitution and a "person" subject to suit within the meaning of 42 U.S.C. § 1983. The City of
Elyria controls, operates, and supervises the City of Elyria Police Department.


5.     Defendant City of Oberlin is a municipal corporation under Article XVIII of the Ohio
Constitution and a "person" subject to suit within the meaning of 42 U.S.C. § 1983. The City of
Elyria controls, operates, and supervises the City of Elyria Police Department.


6.     Defendants Bashshar Wiley, Jakob J. Koleszar and Defendants John Does 1 -6 were at all
times relevant police, corrections officers or other government officials employed by, or acting
on behalf of the City of Elyria and were acting under color of law and in the course and scope
and in furtherance of their employment with the City of Elyria. Thus Defendants are a "person"
under 42 U.S.C. § 1983. John Does 1-6 were police officers r.nd/or other City of Elyria
employees/agents and/or officials who entered misinformation and/or caused misinformation to
be entered into the records of the City of Elyria and/or who transported Freddie J. Bussey, Jr. to
the Lorain County jail whose names and true identities cannot be established without discovery.


                                         FIRST CLAIM


7.     Defendants Bashshar Wiley and Jakob J. Koleszar were police officers employed by the
City of Oberlin, Ohio on July 1, 2023.


8.      On July 1, 2023, said Defendants, while purporting to act in their duty as police Officers
on behalf of the City of Oberlin, acting on behalf of the City of Oberlin, and under color of law
and in the cause and scope of their employment with the City of Oberlin arrested Plaintiff
without probable cause, mistaking him for another person wanted on an outstanding warrant
           Case: 1:24-cv-00080 Doc #: 1-1 Filed: 01/12/24 4 of 7. PageID #: 7




from the City of Elyria.


9.      Defendants Wiley and Koleszar arrested Plaintiff without verifying and without making
any effort to verify that Plaintiff was actually the suspect sought in the outstanding warrant.


10.     After placing the Plaintiff under arrest, Defendants Wiley and Koleszar transported the
Plaintiff to Elyria Police officers who together with other City of Elyria employees/agents and/or
officials caused Plaintiff to be incarcerated in the Lorain County Jail without verifying his true
identity or taking steps to insure that Plaintiff was the actual subject of the arrest warrant issued.


11.     As a result of the unlawful arrest, Plaintiff was wrongfully incarcerated until July 3, 2023
and otherwise subjected to various indignities, humiliation, disgrace and mental anguish.


                                         SECOND CLAIM


12.     Plaintiff incorporates the foregoing allegations as if rewritten.


13.     On July 1, 2023 Defendants John Does 1-6 who were police officers and/or other City of
Elyria employees/agents and/or officials acting on behalf of the City of Elyria and under color of
law and in the cause and scope of their employment with the City of Elyria caused Plaintiff to be
                                                                  '                       .
transported the Plaintiff to the City of Elyria where Plaintiff was incarcerated in the county jail
on July 1, 2023.


14.     Defendants John Does 1-6 did so without verifying his true identity or taking steps to
insure that Plaintiff was the actual subject of the arrest warrant issued.


15.     Plaintiff was finally released from imprisonment on July 3, 2023 without any charge ever
having been made against him.
          Case: 1:24-cv-00080 Doc #: 1-1 Filed: 01/12/24 5 of 7. PageID #: 8




                          THIRD CLAIM (Monell; 42 U.S.C. §1983)


16.    Plaintiff incorporates the foregoing allegations as if rewritten.


17.    Defendant City of Elyria's and Defendant City of Oberlin's policies, practices, customs,
and usages regarding investigations, arrests, and prosecutions were the moving force behind the
violation or Mr. Bussey, Jr. 's rights by Defendants.


18.    Defendant City of Elyria failed to institute adequate policies, procedures, customs,
usages, practices, training and protocols regarding the entering of information into the processes
that lead to the arrest of citizens to ensure that law-abiding citizens are not wrongfully arrested
and incarcerated.


19.    Defendant City of Elyria also failed to institute and train officers, officials and employees
relative to the following: the investigation of crimes; procedures and safeguards relative to
entering suspect information on forms and in criminal databases, designation, retention, and
destruction of public records; probable cause and proper arrest procedures; the writing of proper
police reports and the gathering of evidence; investigating the commission of a crime(s); the
unlawfulness of instituting and/or maintaining a process against a citizen with an unlawful and/or
improper motive; the laws . of slander, libel and/or
                                                   .
                                                     defamation, including such violations of a per
                                                                           ~                    ~




se nature; and the adequacy and/or existence of information needed to institute and/or maintain a
criminal prosecution.


20.    Defendant City of Oberlin failed to institute and train officers, officials and employees
relative to the following: the investigation of crimes; procedures and safeguards relative to
verifying that suspect information on forms and in criminal databases is accurate, verifying that
citizens that   are in fact arresting the correct suspect depicted in entered arrest warrants,
designation, retention, and destruction of public records; probable cause and proper arrest
procedures; the writing of proper police reports and the gathering of evidence; investigating the
commission of a crime(s); the unlawfulness of instituting and/or maintaining a process against a
citizen with an unlawful and/or improper motive; the laws of slander, libel and/or defamation,
                                          •·
          Case: 1:24-cv-00080 Doc #:" 1-1 Filed: 01/12/24 6 of 7. PageID #: 9




including such violations of a per se nature; and the adequacy and/or existence of infonnation
needed to institute and/or maintain a criminal prosecution.


                                    FOURTH CLAIM:
      Willful, Wanton, Reckless, Gross Negligence, Malicious and Bad Faith Conbduct

21.    Plaintiff incorporates the foregoing allegations as if rewritten.


22.     As set forth herein, each of the individually named Defendants, acted in a willful,
wanton, reckless, grossly negligent, and/or malicious manner, and/or acted in bad faith while
acting in the course and scope of their employment and under color of law. Their actions and/or
omissions culminated in Mr. Bussey, Jr.'s injuries, deprivations and damages, also set forth
herein, such that these individual Defendants are not entitled to the defenses and immunities as
set forth in O.R.C. §2744.01 et seq.


23.     As a direct and proximate result of the Defendants' willful, wanton, reckless, grossly
negligent, and/or malicious conduct which was also conducted in bad faith, Mr. Bussey, Jr.,
suffered a violation of his rights, damages, and other losses.


                                 SIXTH CAUSE OF ACTION:
                Civil Liability for Criminal Acts Under O.R.C. §2307.60(A)(l)

24.     Plaintiff incorporates the foregoing allegations as ifrewritten.


25.     Defendants, and John Does 1-6 engaged in conduct that constitutes the following
criminal acts: Dereliction of Duty (R.C. §2921.44(C)(2)(5); and Interfering with Civil Rights
(R.C. § 2921.45(A).


26.     As a direct and proximate result of the individual Defendants' intentional, knowing, and
purposeful conduct, which showed a spirit of ill-will and wanton disregard of Mr. Bussey, Jr. 's
rights, Plaintiff Mr. Bussey, Jr., suffered harm, losses and damages.
         Case: 1:24-cv-00080 Doc #: 1-1 Filed: 01/12/24 7 of 7. PageID #: 10




27.    The Defendants therefore are liable to Plaintiff for civil damages for their criminal
conduct pursuant to Ohio Revised Code § 2307.60 including compensatory damages, punitive
damages, costs, and attorney's fees.


       Wherefore, Plaintiff prays for Judgment against the Defendants jointly and severally for
compensatory damages in excess of $25,000.00, punitive damages, attorney fees and his costs
incurred herein.



                                                            EcKstem (0000477)
                                                      Attorney for Plaintiff
                                                      Eckstein & Eckstein
                                                      Attorneys at Law
                                                      P.O. Box 387
                                                      5 West College Street
                                                      Oberlin, OH 44074
                                                      Phone: (440) 774-4382
                                                      Fax: (440) 774-1497
                                                      Email: bse2@frontier.com

                                        JURY DEMAND

       Plaintiff demands a Trial by Jury in this action.



                                                      ~~
                                                      BarryEstein(0000477)
                                                      Attorney for Plaintiff



TO THE CLERK: REQUEST FOR CERTIFIED MAIL SERVICE

       Please have Summons and a copy of the Complaint served on each of the named

Defendants by certified U.S. Mail, return receipt requested, at their addresses set forth in the

caption of the Complaint.




                                                     ~=
                                                      Attorney for Plaintiff
